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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 21-CR-223 (APM)
                v.                             :
                                               :
MATTHEW MARK WOOD,                             :
                                               :
                        Defendant.             :

                     JOINT NOTICE OF FILING OF GOV’T AND DEFENSE
                         VIDEO EXHIBITS PURSUANT TO LCrR 49
        Pursuant to LCrR 49(e)(1) and Standing Order No. 21-28 (BAH), the government and

defense counsel hereby give notice of the following video exhibits in support of the parties’

respective sentencing memoranda (ECF Nos. 55, 56). These videos have been provided to the

Court and all counsel via a secure filesharing platform. Due to the length of some videos, the

parties recommend that the Court and Counsel review them prior to the hearing so that insofar as

is possible and if desired, the parties may incorporate the exhibits by reference at the sentencing

hearing. Should the Court or Counsel request, however, the parties will be ready to show any video

in its entirety at the hearing.

        At this time, the parties have no objection to the public release of these videos.


                                     Government Video Exhibits

GOV’T EXHIBIT 06 (06a-06x)

        Type:           Video
        File Type:      .mp4
        Length:         Varies
        Source:         Videos recovered from Wood’s cellphone.
        Description:    These 24 videos were recovered from Woods cellphone and appear to have
                        been recorded by Wood.
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GOV’T EXHIBIT 07 (07a-07c)

     Type:          Video
     File Type:     .mp4
     Length:        Varies
     Source:        Videos recovered from Wood’s cellphone.
     Description:   These three videos were recovered from Woods cellphone and appear to
                    have been recorded by Wood. These three videos were recorded when
                    Wood was atop the media tower in the West Plaza.

GOV’T EXHIBIT 08

     Type:          Video
     File Type:     .mp4
     Length:        00 min 54 seconds
     Source:        TikTok
     Description:   Another rioter recorded this video while Wood (who appears at the 00:08
                    mark) and others were under the NW scaffolding and attacking the police
                    line on the landing of the NW stairs. Even at this point, their intent was
                    clearly to storm the Capitol. The rioter, who is within an arm’s length of
                    Wood, can be heard saying,

                           They’re shooting at us. [ . . . ] We’re taking over the Capitol.
                           [ . . . ] It’s getting’ ugly in here, but we can do it. We’re gonna
                           take this fucker down. We’re going to get into the Capitol. [ . . . ]
                           Alright, it’s time to fuck this shit up. Alright, they’re shootin’,
                           they’re shootin’ all over.

GOV’T EXHIBIT 09

     Type:          Video
     File Type:     .mp4
     Length:        00 min 38 sec
     Source:        YouTube
     Description:   An individual who was present at the Capitol riot and took photographs
                    while on restricted grounds recorded and posted a video in which he
                    displays those photographs and talks about them. In this excerpt, the
                    videographer talks about his photographs of Wood.




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GOV’T EXHIBIT 10

     Type:          Video
     File Type:     .mp4
     Length:        01 min 01 sec
     Source:        Another Rioter’s Cellphone Video
     Description:   This video was recorded from the NW Lawn as rioters attacked the police
                    line on the landing of the NW staircase. The video shows Wood standing
                    on the balustrade of the staircase facing out towards the rioters on the lawn
                    waving his flag and yelling. The video also shows Wood in close proximity
                    to the police line as it falls and the rioters rush forward.

GOV’T EXHIBIT 11

     Type:          Video
     File Type:     .mp4
     Length:        00 min 47 sec
     Source:        Another Rioter’s Cellphone Video
     Description:   This video was recorded from the NW Lawn as rioters continued to surge
                    up towards the Capitol. Wood is seen in a prominent position waving his
                    flag at the 00:16 mark as the videographer pans around showing the
                    chanting rioters.

GOV’T EXHIBIT 12

     Type:          Video
     File Type:     .mp4
     Length:        03 min 20 sec
     Source:        Another Rioter’s Video
     Description:   This video shows the progression of one rioter who ended up in close
                    proximity to Wood as they entered the Small House Rotunda (2nd floor)
                    and the House Speaker’s suite of offices. As they enter the hallway, the
                    rioters shout:

                           Fuck you, Nancy! Fuck you, Nancy! You’re a turkey vulture
                           [indecipherable]. Nancy Pelosi . . . [indecipherable]. Yeah, tear
                           her office apart, that little c***. Yeah, where’s the little c***?
                           Where’s the little c***? Time to go! Time to go, Nancy! Yeah,
                           time to get outta here. Speaker Pelosi! Where you at? Where’s the
                           traitor?




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GOV’T EXHIBIT 13

     Type:          Video
     File Type:     .mp4
     Length:        02 min 51 sec
     Source:        Another Rioter’s Cellphone Video
     Description:   This video was recorded as Wood and others invaded the House Speaker’s
                    suite of offices.

GOV’T EXHIBIT 14

     Type:          Video
     File Type:     .mp4
     Length:        01 min 32 sec
     Source:        Another Rioter’s Cellphone Video
     Description:   This video was recorded as Wood and others invaded the House Speaker’s
                    suite of offices.

GOV’T EXHIBIT 15

     Type:          Video
     File Type:     .mp4
     Length:        02 min 47 sec
     Source:        60 Minutes (YouTube)
     Description:   This video is an excerpt of the 60 Minutes program in which Lesley Stahl
                    spoke with House Speaker Nancy Pelosi about the experience of the
                    Speaker and specifically of her staff who were in the Speaker’s suite of
                    offices as the rioters, including Wood, invaded.

GOV’T EXHIBIT 16

     Type:          Video
     File Type:     .mp4
     Length:        00 min 46 sec
     Source:        Excerpt from Open-Source Intelligence (OSINT)
     Description:   This is an excerpt from a publicly available video that shows Wood resisting
                    and pushing police officers while calling for others to help. The clip is
                    shown once in its original form, once in slow motion, and then once again
                    at normal speed.




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GOV’T EXHIBIT 17

     Type:          Video
     File Type:     .mp4
     Length:        02 min 55 sec
     Source:        Excerpt from Open-Source Intelligence (OSINT)
     Description:   This is an excerpt from a publicly available video that shows Wood resisting
                    and pushing police officers while calling for others to help. The clip is
                    shown once in its original form, once isolated at normal speed, and once in
                    slow motion. The video also isolates other moments in which Wood is seen
                    waving his flag in the faces of police officers even as they direct the rioters
                    to leave the Rotunda.

GOV’T EXHIBIT 18

     Type:          Video
     File Type:     .mp4
     Length:        14 min 04 sec
     Source:        USCP CCV
     Description:   A compilation of surveillance video showing Wood from the moment he
                    emerged through a hole torn in the tarp covering the scaffolding of the
                    Inaugural beachers through the time when he rushed up to the Senate Wing
                    Doors. Wood stood there riling up the rioters by waving his flag, yelling,
                    and beckoning them forward for approximately eight minutes. Despite his
                    statements to the contrary, the video shows Wood running freely,
                    voluntarily, and excitedly up to the Capitol.

GOV’T EXHIBIT 19 (19a-19d)

     Type:          Video
     File Type:     .mp4
     Length:        Varies
     Source:        USCP CCV
     Description:   These three videos trace Wood on his path through the Capitol. For
                    approximate times of the locations shown, please reference GOV’T
                    EXHIBIT 02.




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GOV’T EXHIBIT 20

     Type:          Video
     File Type:     .mp4
     Length:        03 min 12 sec
     Source:        Open-Source Intelligence (OSINT)
     Description:   This video combines two videos, one recorded by a rioter and another
                    recorded by an individual who was inside of the Capitol when the rioters
                    breached. Both videos show the progress of the rioters from the Senate
                    Wing Door to the Ohio clock corridor. Specifically, the video shows how
                    the group, of which Wood was a part, pursued USCP officer Goodman up
                    the staircase from the first floor to the second floor on the NE side of the
                    Capitol.

GOV’T EXHIBIT 21

     Type:          Video
     File Type:     .mp4
     Length:        06 min 00 sec
     Source:        Open-Source Intelligence (OSINT)
     Description:   This video was recorded in the Rotunda as rioters took a stand against USCP
                    and MPD officers who were attempting to clear the Rotunda. The rioters
                    can be heard singing the Star Spangled Banner just before fighting with
                    police officers in the Great Rotunda of the U.S. Capitol. Wood and his flag
                    may be seen beginning at approximately 01:08. Wood aggressively waves
                    his flag over the heads and in the faces of the police officers. Beginning at
                    the 01:50 mark, Wood is seen pushing his side and back directly against
                    police officers until one officer finally succeeds in deterring Wood.


                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052


                                   By:
                                           SEAN P. MURPHY
                                           Assistant U.S. Attorney
                                           DC Bar No. 1187821
                                           Torre Chardon, Ste 1202
                                           350 Carlos Chardon Ave
                                           San Juan, PR 00918
                                           sean.murphy@usdoj.gov
                                           787-766-5656



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                                   Defendant’s Video Exhibits

Defendant’s Exhibits 2A-5B have been removed as they are contained in Gov’t Exhibits 18, 19a,
19c, and 19d.

The Defendant has the following areas he wishes to be viewed as exhibits within Gov’t Exhibits
18, 19a, 19c, and 19d:

Government Exhibit 18 – From 00 min 00 sec through 07 min 46 sec (Wood waving flag in
scaffolding not part of group that overruns officers at top of stairs) and from 12 min 33 sec to the
end. (Wood on upper west terrace not at Senate Doors at time of initial breach).

Government Exhibit 19a – From 00 min 00 sec to 01 min 58 sec (Senate Wing Door entry), from
03 min 04 sec through 04 min 23 sec (Hall leading to Ohio Clock Corridor Wood is 30th person
back in a winding stairwell), and from 04 min 24 sec through 06 min 00 sec (Ohio Clock Corridor
where Wood stays father back from confrontation with officers).

Government Exhibit 19c – From 00 min 00 sec through 01 min 56 sec. (Wood takes pictures in
Rotunda).

Government Exhibit 19d – From 00 min 00 sec to 00 min 52 sec (Wood walks in distracted with
his phone. Sees line of cops but does not approach area and exits Rotunda another way); from 17
min 58 sec through 19 min 24 sec (Wood waiting to exit at clogged and chaotic Rotunda doors,
gets info on exiting from bicycle cop); and from 28 min 43 sec to the end.(Wood trying to exit at
Rotunda doors and ultimately does but it takes a long time to get out).

DEFENDANT’S EXHIBIT 05c

       Type:           Video
       File Type:      .mp4
       Length:         Varies
       Source:         Wood’s Cellphone
       Description:    This video was recorded by Wood near the East Rotunda Door exit. This
                       video shows difficulty exiting the doors.




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DEFENDANT’S EXHIBIT 06

     Type:          Audio
     File Type:     .mp4
     Length:        11 min 21 sec
     Source:        FBI
     Description:   This recording is the tips line audio of Wood. Wood turns himself in to FBI
                    tip line.

DEFENDANT’S EXHIBIT 07

     Type:          Image
     File Type:     .jpg
     Length:        n/a
     Source:        Wood’s cellphone
     Description:   This image shows a text sent by Wood. Wood expresses instant remorse to
                    friend.

DEFENDANT’S EXHIBIT 08

     Type:          Video
     File Type:     .mov
     Length:        02 min 26 sec
     Source:        Cellphone video
     Description:   This video shows the area between the Rotunda and the foyer between the
                    Rotunda and the East Rotunda Door exit. Chaos and difficulty exiting in
                    Rotunda.

DEFENDANT’S EXHIBIT 09

     Type:          Video
     File Type:     .mp4
     Length:        15 min 54 sec
     Source:        Recorded Video Statement
     Description:   This video features videorecorded statements from Wood, his father, and a
                    friend that are addressed to the Court to aid in sentencing.


                                  By:       /s/
                                          Kira Anne West
                                          DC Bar No. 993523
                                          712 H. St. N.E., Unit #509
                                          Washington, D.C. 20005
                                          202-236-2042
                                          kiraannewest@gmail.com




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